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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS


BITMANAGEMENT SOFTWARE GMBH,

              Plaintiff,
                                                       No. 16-840 C
       v.
                                                       Senior Judge Edward J. Damich
THE UNITED STATES,

              Defendant.


    DEFENDANT’S OBJECTIONS AND PROPOSED CROSS-DESIGNATIONS TO
       PLAINTIFF’S MOTION TO DESIGNATE DEPOSITION TESTIMONY

       Pursuant to the Court’s Trial Preparation Order (TPO), Defendant the United States (the

Government) hereby submits its cross-designations and objections in response to Plaintiff’s

Motion for Leave to Present Testimony of Defendant’s 30(b)(6) Representatives Through

Deposition. See ECF 40 (TPO); ECF 64 (Motion). In its Motion, Plaintiff Bitmanagement

Software GmbH (Bitmanagement) sought to designate portions of the deposition transcripts of

Alex Viana (Viana) and Patrick Samuel Chambers (Chambers), taken pursuant to Rule 30(b)(6)

of the Rules of the Court of Federal Claims (RCFC).1

       The Government objects to Bitmanagement’s deposition transcript designations for

several reasons.   First, Bitmanagement’s designations are unnecessary.      Both Viana and

Chambers are available to testify during the trial and the Government intends to call both

witnesses during its case-in-chief. See generally RCFC 32(a)(4). Second, Bitmanagement’s

designations are unnecessarily burdensome. Bitmanagement designated 139 portions of Viana’s

RCFC 30(b)(6) testimony and 171 portions of Chambers’s RCFC 30(b)(6) testimony. Third,

1
 For reference, the Government has attached Bitmanagement’s RCFC 30(b)(6) notice, the
Government’s objections and responses to Bitmanagement’s topics, and the Government’s
witness designations. See A1-6 (notice); A7-24 (objections and responses); A25 (designations).
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many of Bitmanagement’s designations are based on improper and objectionable questions. See

RCFC 32(b). For example, many of Bitmanagement’s deposition questions called for legal

conclusions, but “legal conclusions given during a 30(b)(6) deposition are generally not binding

on the deponent entity.”        King v. United States, 119 Fed. Cl. 277, 285 (2014) (citing

AstenJohnson, Inc. v. Columbia Gas. Co., 562 F.3d 213 (3d Cir. 2009)); see also A9, 16-21

(objecting on this basis). Similarly, many of Bitmanagement’s deposition questions called for

testimony outside of the scope of the designated RCFC 30(b)(6) topics. Any such testimony is

not binding on the Government. See King, 119 Fed. Cl. at 284-85. The Government identified

its specific objections to portions of the designated testimony in the table below.

       Finally, the Government’s cross-designations are necessary to render the designations

complete and provided so as to be considered with the designations as required by Rule 106 of

the Federal Rules of Evidence. See FRE 106; see also RCFC 32(a)(6). The Government

identified its proposed cross-designations in the table below.

I.     ALEX VIANA RCFC 30(b)(6) DEPOSITION (DEC. 7, 2017)

  Bitmanagement’s          Government                              Government
   Designation for       Cross-Designation                          Objection
       Viana
5:2-10                 5:2-10
6:19-22
7:6-13
7:16-23
8:4-12
12:9-14:2
14:22-15:16
16:4-17:9
17:19-18:25            18:14-19:15
 19:16-20:5            24:21-25:4
                       25:24-26:13
20:15-25
21:24-22:10
23:4-10
26:23-24

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 Bitmanagement’s       Government                          Government
  Designation for    Cross-Designation                      Objection
      Viana
27:2-32:18
33:5-23
34:3-35:4
35:16-18
36:2-25
37:20-38:5
38:8-15
39:7-24                                  40:10-24 – Foundation; Hearsay
40:14-21                                 40:10-24 – Foundation; Hearsay
40:23-41:14                              40:10-24 – Foundation; Hearsay
40:6-12
41:20-42:7
42:10-16                                 42:5-11 – Calls for legal conclusion
43:11-20
44:10-45:8
45:13-24
46:9-17                                  46:14-21 – Calls for speculation
46:20-48:19
48:22-49:6
49:13-51:10
51:25-54:16
55:7-57:4
57:7-17
58:3-60:6
60:16-61:15         60:22-62:8
62:16-24
63:3-22             63:3-65:17
64:6-68:13
68:25-69:23                              69:21-70:8 – Calls for legal conclusion
70:2-5                                   69:21-70:8 – Calls for legal conclusion
70:7-20                                  69:21-70:8 – Calls for legal conclusion
                                         70:18-72:20 – Calls for legal conclusion
70:22-71:3                               70:18-72:20 – Calls for legal conclusion
71:15-21                                 70:18-72:20 – Calls for legal conclusion
71:5-13                                  70:18-72:20 – Calls for legal conclusion
72:12-20                                 70:18-72:20 – Calls for legal conclusion
72:3-6
73:11-13                                 73:11-13 – Foundation; Calls for Speculation;
                                         No testimony identified
74:3-7
74:10-75:10                              75:8-16 – Calls for legal conclusion
75:13-19                                 75:17-23 – Foundation

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 Bitmanagement’s       Government                          Government
  Designation for    Cross-Designation                      Objection
      Viana
75:21-76:3                               75:17-23 – Foundation
76:5-78:2                                77:12-78:7 – Calls for legal conclusion
78:5-20
79:14-80:13
81:8-10                                  81:8-13 – Calls for legal conclusion; Asked and
                                         answered
81:13-82:13                              81:8-13 – Calls for legal conclusion; Asked and
                                         answered
82:17-23                                 82:21-84:9 – Calls for legal conclusion
83:10                                    82:21-84:9 – Calls for legal conclusion
83:12-15                                 82:21-84:9 – Calls for legal conclusion
84:2-9                                   82:21-84:9 – Calls for legal conclusion
84:21-85:22
85:25-86:22
87:22-88:10
88:12-17
88:20-89:4
89:10-20            89:5-20
90:14-16                                 90:14-91:9 – Calls for legal conclusion
90:19-22                                 90:14-91:9 – Calls for legal conclusion
91:8-9                                   90:14-91:9 – Calls for legal conclusion
91:19-20
91:22-92:2
92:13-20            92:13-93:16
93:17-94:17
94:20-95:23                              95:20-96:3 – Calls for legal conclusion
96:2-19                                  95:20-96:3 – Calls for legal conclusion
97:20-98:4                               97:24-98:6 – Mischaracterizes
98:6
99:6-100:21         100:9-101:11
100:23              100:9-101:11
101:12-103:8        102:18-103:8
103:15-25
104:19-105:8        105:5-13
105:14-19                                105:14-106:5 – Calls for legal conclusion
105:22-24                                105:14-106:5 – Calls for legal conclusion
106:2-12                                 105:14-106:5 – Calls for legal conclusion
106:25-107:15
107:17-108:4
108:16-17
108:20-109:2
108:6

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 Bitmanagement’s       Government                          Government
  Designation for    Cross-Designation                      Objection
      Viana
109:4-22
110:8
110:13-111:20
111:25-112:19
112:23-113:5
114:10-115:2
115:18-119:2        115:3-24
                    117:20-118:19
120:8-17
120:20-121:5                             120:25-122:13 – Calls for legal conclusion;
                                         Foundation
121:22-122:10                            120:25-122:13 – Calls for legal conclusion;
                                         Foundation
122:13                                   120:25-122:13 – Calls for legal conclusion;
                                         Foundation
124:4-9
124:17-23
125:4-20
126:20-127:7
128:22-129:12                            127:16-130:8 – Beyond the scope of the
                                         designated RCFC 30(b)(6) topics for deposition
129:25-130:8
131:6-14
132:16-18
132:24-134:5
134:7-11
134:19-137:19
137:22-138:19
138:22-141:8
141:15-142:20       141:9-21
142:25-143:10       142:25-144:11
143:15-145:4        142:25-144:11
145:18-146:14
148:15-22           147:19-150:2
151:6-14
153:8-11
154:16-22
155:15-21           156:21-25
157:14-158:3
158:14-15
158:22-25           158:16-159:2
160:9-162:11

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 Bitmanagement’s       Government                         Government
  Designation for    Cross-Designation                     Objection
      Viana
162:18-163:2
164:5-12
165:11-14
165:25-166:5        165:25-166:5
166:17-168:7        166:17-167:4
169:2-19
170:10-13                                170:10-13 – Beyond the scope of the designated
                                         RCFC 30(b)(6) topics for deposition
171:14-172:8        170:20-171:11


II.     PATRICK SAMUEL CHAMBERS RCFC 30(b)(6) DEPOSITION (DEC. 14, 2017)

 Bitmanagement’s       Government                         Government
  Designation for    Cross-Designation                     Objection
     Chambers
9:1-3               9:1-12
9:10-12             9:1-12
10:20-23
11:15-23
11:5-12
12:3-17
13:19-24
13:9-14
19:25-20:12
21:6-17
23:23-24:11
25:2-6
25:20-26:19                              26:16-21 – Beyond the scope of the designated
                                         RCFC 30(b)(6) topics for deposition
26:21                                    26:16-21 – Beyond the scope of the designated
                                         RCFC 30(b)(6) topics for deposition
26:23-27:11
29:19-25
30:4-24
31:3-23
32:2-19
34:2-11
34:25-35:17
35:25-36:3
36:11-20            36:11-38:16
36:25-37:6          36:11-38:16

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 Bitmanagement’s        Government                     Government
  Designation for     Cross-Designation                 Objection
     Chambers
37:10-12             36:11-38:16
42:1-7               42:1-7
43:4-44:4            43:1-50:21
44:11-12             43:1-50:21
45:9-17              43:1-50:21
46:17-47:2           43:1-50:21
47:9-16              43:1-50:21
48:17-20             43:1-50:21
48:8-11              43:1-50:21
49:8-14              43:1-50:21
50:1-4               43:1-50:21
50:11-21             43:1-50:21
52:19-53:5           52:19-53:23
53:24-54:5
54:11-55:4
55:21-56:6
56:13-23
59:7-11              59:7-61:18
60:8-14              59:7-61:18
60:17-62:12          59:7-61:18
62:19-64:25
65:14-24
66:11-67:14          67:15-68:11
68:12-15             67:15-68:11
70:8-16              40:5-41:22
                     70:8-77:9
72:17-22             40:5-41:22
                     70:8-77:9
73:11-22             40:5-41:22
                     70:8-77:9
74:23-75:11          40:5-41:22
                     70:8-77:9
75:18-22             40:5-41:22
                     70:8-77:9
76:7-17              40:5-41:22
                     70:8-77:9
76:23-77:9           40:5-41:22
                     70:8-77:9
78:3-15              78:3-79:16
78:19-79:16          78:3-79:16
80:10-16
80:21-81:15

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 Bitmanagement’s        Government                         Government
  Designation for     Cross-Designation                     Objection
     Chambers
81:18-21
82:5-21
83:10-17
83:19-85:23          83:24-85:21
85:25-86:21
88:6-89:25
90:5-15
90:22-91:8           90:22-93:3
91:23-25             90:22-93:3
92:24-93:3           90:22-93:3
94:18-20             93:15-98:22
95:2-11              93:15-98:22
95:25-96:3           93:15-98:22
100:3-101:10
101:15-22                                 101:15-104:23 – Beyond the scope of the
                                          designated RCFC 30(b)(6) topics for deposition
102:17-103:7                              101:15-104:23 – Beyond the scope of the
                                          designated RCFC 30(b)(6) topics for deposition
103:21-23                                 101:15-104:23 – Beyond the scope of the
                                          designated RCFC 30(b)(6) topics for deposition
104:2-15                                  101:15-104:23 – Beyond the scope of the
                                          designated RCFC 30(b)(6) topics for deposition
104:17                                    101:15-104:23 – Beyond the scope of the
                                          designated RCFC 30(b)(6) topics for deposition
104:19-20                                 101:15-104:23 – Beyond the scope of the
                                          designated RCFC 30(b)(6) topics for deposition
104:22-23                                 101:15-104:23 – Beyond the scope of the
                                          designated RCFC 30(b)(6) topics for deposition
105:17-106:6
105:8-14
107:18-20
108:10-21            108:10-109:12
109:6-8              108:10-109:12
111:5-112:10         111:5-115:16
112:15-115:11        111:5-115:16
115:23-116:2
117:22-24
118:21-23
118:5-12
119:3-11
120:2-121:1                               120:22-121:2 – Compound; Mischaracterizes
121:10-122:10        121:10-125:22

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 Bitmanagement’s       Government                         Government
  Designation for    Cross-Designation                     Objection
    Chambers
122:12-17           121:10-125:22
122:24-123:25       121:10-125:22
124:7-15            121:10-125:22
127:14-22           126:11-127:22
128:1-3
128:11-130:8        128:11-134:9
130:16-131:7        128:11-134:9
131:17-132:24       128:11-134:9
143:5-9
144:12-23
145:15-146:7        145:15-148:15
147:2-14            145:15-148:15
148:18-24
149:5-150:11                             150:7-15 – Beyond the scope of the designated
                                         RCFC 30(b)(6) topics for deposition; Foundation
150:14-15
151:23-153:17
154:1-6
154:16-155:6
155:1-17
155:19-24
156:2-22
157:15-158:17                            158:11-159:22 – Beyond the scope of the
                                         designated RCFC 30(b)(6) topics for deposition
158:20-159:15                            158:11-159:22 – Beyond the scope of the
                                         designated RCFC 30(b)(6) topics for deposition
159:20-22                                158:11-159:22 – Beyond the scope of the
                                         designated RCFC 30(b)(6) topics for deposition
159:24-160:2
161:9-164:19
165:19-24
165:8-10
166:1-167:15        166:1-168:19
168:15-19           166:1-168:19
169:1-14
170:5-8
170:12-19
170:22-171:4        170:22-171:17
172:25-173:21
173:23
173:25-174:23       173:25-176:11
175:5-176:11        173:25-176:11

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 Bitmanagement’s       Government                         Government
  Designation for    Cross-Designation                     Objection
    Chambers
177:15-22
178:23-179:10
180:14-19           179:5-182:3
181:22-182:3        179:5-182:3
181:8-11
182:19-183:6
182:9-12
183:23-184:7        183:23-184:12
184:13-185:5
185:10-20
186:1-187:11
187:15-24
188:16-18
188:23-189:5        188:23-191:13
189:7               188:23-191:13
189:9-10            188:23-191:13
190:15-191:13       188:23-191:13
191:15-192:8
192:24-193:10
193:24-194:2
194:6-14
194:23-195:3
195:17-196:6
196:10-197:21       197:17-201:1
198:18-199:11       197:17-201:1
200:11-14           197:17-201:1
201:2-202:15        201:22-202:23
205:14-21           204:12-210:18
208:2-5             204:12-210:18
208:11-18           204:12-210:18
210:9-21            204:12-210:18        210:19-22 – Vague as to “important”
210:24-211:20
212:7-14
213:16-21
214:7-216:7         214:7-218:7
216:9-20            214:7-218:7
219:13-18           219:13-220:9
219:25-220:4        219:13-220:9




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                                  Respectfully submitted,

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